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 1                                                                    Hon. Richard A. Jones

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 5
                            UNITED STATES DISTRICT COURT
 6
                           WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 7
     UNITED STATES OF AMERICA,
 8
                               Plaintiff(s),         NO. CR17-0112RAJ
 9
           v.                                        ORDER DENYING
10                                                   DEFENDANT’S MOTION FOR
     EDWARD BUI,                                     APPOINTMENT OF COUNSEL
11
                               Defendant(s).
12

13         THIS MATTER comes before the Court upon Defendant Edward Bui’s pro se

14 Motion for Appointment of Counsel for purposes of assisting him in filing a motion for

15
     compassionate release. Having considered the motion, and the files and pleadings herein,
           IT IS ORDERED that Defendant’s Motion (Dkt. #95) is DENIED.
16
           DATED this 16th day of October, 2020.
17

18                                                  A
19                                                  The Honorable Richard A. Jones
                                                    United States District Judge
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     ORDER DENYING DEFENDANT’S MOTION FOR APPOINTMENT OF
     COUNSEL - 1
